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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:14-CR-00226-DAD-BAM-3

12                                Plaintiff,             PRELIMINARY ORDER OF FORFEITURE

13                          v.

14   LEONOR SARABIA-RAMIREZ,

15                                Defendant.

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17          Based upon the general forfeiture allegation in the Indictment, the Bill of Particulars for

18 Forfeiture of Property, and the Stipulation and Application for Preliminary Order of Forfeiture and

19 Publication Thereof filed herein, it is hereby ORDERED, ADJUDGED AND DECREED as follows:

20          1.      Pursuant to 21 U.S.C. § 853(a), defendant Leonor Sarabia-Ramirez’ interest in the

21 following property shall be condemned and forfeited to the United States of America, to be disposed of

22 according to law:

23                  a. Approximately $88,700.00 in U.S. Currency.

24          2.      The above-listed asset is property which constitutes, or is derived from, any proceeds the

25 defendant obtained, directly or indirectly, or is property used, or intended to be used, in any manner or

26 part, to commit, or to facilitate the commission of, a violation of 21 U.S.C. §§ 846, 841(a)(1) and
27 841(b)(1)(A).

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 1          3.      Pursuant to Rule 32.2(b), the Attorney General (or a designee) shall be authorized to

 2 seize the above-listed property. The aforementioned property shall be seized and held by the United

 3 States Marshals Service, in its secure custody and control.

 4          4.      a.      Pursuant to 21 U.S.C. § 853(n), and Local Rule 171, the United States shall

 5 publish notice of the order of forfeiture. Notice of this Order and notice of the Attorney General’s (or a

 6 designee’s) intent to dispose of the property in such manner as the Attorney General may direct shall be

 7 posted for at least 30 consecutive days on the official internet government forfeiture site

 8 www.forfeiture.gov. The United States may also, to the extent practicable, provide direct written notice

 9 to any person known to have alleged an interest in the property that is the subject of the order of

10 forfeiture as a substitute for published notice as to those persons so notified.

11                  b.      This notice shall state that any person, other than the defendant, asserting a legal

12 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

13 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

14 within thirty (30) days from receipt of direct written notice, whichever is earlier.

15          5.      The defendant waives oral pronouncement of forfeiture at the time of sentencing, any

16 defects in such pronouncement that pertain to forfeiture, and waives any defenses to forfeiture.

17          6.      If a petition is timely filed, upon adjudication of all third-party interests, if any, this

18 Court will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all interests will

19 be addressed.

20 IT IS SO ORDERED.

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        Dated:     May 22, 2018
22                                                       UNITED STATES DISTRICT JUDGE

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